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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 20-CV-25022-KMM

  GHADA OUEISS,
      Plaintiff,

                  v.

  MOHAMMED BIN SALMAN BIN
  ABDULAZIZ AL SAUD, et al.,
        Defendants.
  ______________________________________/

                                        NOTICE OF FILING

            Plaintiff Ghada Oueiss hereby gives notice that Defendants Mohammed Bin Salman Bin

  Abdulaziz Al Saud (“MBS”), Mohammed Bin Zayed Al Nahyan (“MBZ”), Faisal al Bannai (“al

  Bannai”), Saud Al Qahtani (“Al Qahtani”), Bader Al-Asaker (“Al-Asaker”), DarkMatter, Prince

  Mohammed Bin Salman Abdulaziz Foundation d/b/a MiSK Foundation (“MiSK Foundation”),

  Tarek Abou Zeinab (“Zeinab”), Turki Al-Owerde (“Al-Owerde”), Awwad Al Otaibi (“Al Otaibi”),

  Faisal Al Menaia (“Al Menaia”), and Saudi 24 TV have been served with the Complaint and their

  respective summons in the manner or manners described below, as authorized by this Court’s order

  dated January 18, 2021 [D.E. 22]. Copies of the Proofs of Service are attached hereto.

     i.        MBS: Served on January 21, 2021 via hand-delivery on U.S. based counsel.

     ii.       MBZ: Served on January 20, 2021 via Twitter.

     iii.      al Bannai: Served on January 29, 2020 via FedEx to DarkMatter in the UAE, made
               effective by Court order dated January 18, 2021 [D.E. 22].

     iv.       Al Qahtani: Served on January 21, 2021 via hand-delivery on U.S. based counsel.

     v.        Al-Asaker: Served on January 20, 2021 via Twitter, and on January 21, 2021 via hand-
               delivery on U.S. based counsel.

     vi.       DarkMatter: Served on January 20, 2021 via Twitter.
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     vii.       MiSK Foundation: Served on January 21, 2021 via hand-delivery on U.S. based
                counsel.

     viii.      Zeinab: Served on January 20, 2021 via email to Saudi 24 TV and via Twitter.

     ix.        Al-Owerde: Served on January 22, 2021 via email and via Twitter.

     x.         Al Otaibi: Served on January 22, 2021 via Twitter.

     xi.        Al Menaia: Served on January 22, 2021 via Twitter.

     xii.       Saudi 24 TV: Served on January 20, 2021 via email and via Twitter.


  Dated: January 25, 2021

                                                        Respectfully submitted,
                                                        /s/ Jason L. Mays
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                                                        Telephone: (305) 400-4260

                                    CERTIFICATE OF SERVICE

             I hereby certify that on January 25, 2021, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF, which caused the foregoing to be served upon all

  counsel of record.


                                                        /s/ Jason L. Mays
                                                        Jason L. Mays



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